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                            Exhibit A
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 Attorney for Plaintiff
 HUMC Opco LLC, d/b/a
 CarePoint Health -- Hoboken University Medical Center

                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


 HUMC OPCO LLC, d/b/a CAREPOINT
 HEALTH - HOBOKEN UNIVERSITY                  CIVIL ACTION NO.:
 MEDICAL CENTER,                              2:16-cv-00168-KM-MAH

       Plaintiff,
                                              Hon. Kevin McNulty, U.S.D.J.
 v.                                           Hon. Michael A. Hammer, U.S.M.J.

 UNITED BENEFIT FUND, AETNA
 HEALTH INC., and OMNI                          SECOND AMENDED
 ADMINISTRATORS INC.,                           COMPLAINT

       Defendants.



       Plaintiff HUMC Opco LLC, d/b/a CarePoint Health -- Hoboken University

 Medical Center (“Plaintiff” or “HUMC”), through its attorneys, K&L Gates LLP,

 files this Second Amended Complaint against Defendants, United Benefit Fund

 (“UBF”), Aetna Health Inc. (“Aetna”), and Omni Administrators Inc. (“Omni”)

 (collectively, “Defendants”), and hereby alleges:
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                            SUMMARY OF CLAIMS

       1.    HUMC operates a community hospital located at 308 Willow Avenue,

 Hoboken, New Jersey 07030.

       2.    From May 29, 2014, until May 22, 2015, HUMC provided extensive

 emergent medical treatment to a patient insured by UBF (hereinafter “Patient 1”).

 Patient 1 presented to HUMC’s Emergency Department, was admitted to the

 hospital, and continued to receive medically necessary treatment from HUMC for

 358 consecutive days thereafter.

       3.    For his lengthy in-patient stay and the medically necessary care he

 received at HUMC, Patient 1 incurred total charges in the amount of

 $7,702,491.32.

       4.    Of that amount, UBF, as Patient 1’s insurer, is liable to HUMC, as

 Patient 1’s assignee, in the total amount of at least $789,446.88, representing the

 benefits amounts payable under the Plan of Benefits sponsored by UBF (“Plan”).

 Upon information and belief, the Plan is not a grandfathered plan under the Patient

 Protection and Affordable Care Act (“ACA”), – As such, the amounts payable

 under the Plan are even higher.

       5.    However, to date, UBF, through Omni (the Plan Administrator), and

 Aetna (the Plan’s third-party claims administrator), has refused to reimburse




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 HUMC more than $12,907.18, leaving an unpaid balance due under the Plan of at

 least $776,539.70.

           6.    Moreover, as set forth more fully below, Defendants have refused to

 provide HUMC any meaningful avenue of review of UBF’s underpayments.

           7.    Even worse, Aetna has sent HUMC two separate demands for alleged

 overpayment relating to the treatment HUMC provided to Patient 1 in the amounts

 of $4,366.44 and $4,270.37, which would leave the total reimbursement amount to

 HUMC at $4,270.37.

           8.    Defendants’ conduct, described more fully below, violates the

 Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001

 et seq.

                                    THE PARTIES

           9.    Plaintiff HUMC is a limited liability company organized under the

 laws of the State of New Jersey. HUMC operates a licensed general acute care

 hospital doing business as CarePoint Health -- Hoboken University Medical

 Center, located at 308 Willow Avenue, Hoboken, New Jersey 07030.

           10.   Defendant UBF is an employee welfare benefits plan within the

 meaning of 29 U.S.C. § 1002(2)(A), with its principal place of business located at

 150-28 Union Turnpike, Suite 250 Flushing, New York 11367.              UBF’s Plan

 provides medical benefits, dental benefits, and vision benefits for its members.


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         11.   Defendant Omni is a corporation of the State of New York with its

 principal place of business located at 1430 Broadway, Suite 1303, New York, New

 York 10018. Omni is the Plan Administrator for the UBF Plan.

         12.   Defendant Aetna is a corporation of the State of New York with its

 principal place of business located at 100 Park Avenue, 12th Floor, New York,

 New York, and a registered agent located at CT Corporation System, 11 Eighth

 Avenue, New York, New York                10011.    Aetna is the third-party claims

 administrator for the Plan and, together with Omni, jointly administers the UBF

 Plan.

                            JURISDICTION AND VENUE

         13.   The Court has federal question subject matter jurisdiction over this

 matter pursuant to 28 U.S.C. § 1331 and 29 U.S.C. § 1332(a), as this is a civil

 enforcement action under ERISA.

         14.   This Court has personal jurisdiction over the Defendants because, at

 all times material hereto, Defendants carried on one or more businesses or business

 ventures in this judicial district; there is the requisite nexus between the

 business(es) and this action; and Defendants engaged in substantial and not

 isolated activity within this judicial district.




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        15.    Venue is proper in this judicial district pursuant to 28 U.S.C. §

 1391(b)(2), because a substantial portion of the events giving rise to this action

 arose in this judicial district.

                              FACTUAL ALLEGATIONS

 A.     Patient 1 Receives Extensive Inpatient Treatment at HUMC for 358
        Continuous Days

        16.    Patient 1 presented to HUMC’s Emergency Department on or about

 May 29, 2014. Due to the severity of his condition, Patient 1 was admitted to

 HUMC as an inpatient with a primary diagnosis code of 434.91, cerebral artery

 occlusion.

        17.    Patient 1 was an inpatient at HUMC for 358 continuous days, until

 May 22, 2015, during which time he received extensive and medically necessary

 care, and incurred total charges in the amount of $7,702,491.32.

 B.     Defendants Substantially Underpay HUMC for the Treatment it
        Provided to Patient 1

        18.    Patient 1 is a beneficiary of UBF’s Plan. The Plan expressly provides

 coverage for “in-network benefits” using the “Preferred Provider Organization

 (‘PPO’)” network for Aetna, and for “out-of-network benefits” for “non-PPO

 providers.” HUMC is an out-of-network provider with respect to Aetna and a

 “non-PPO provider” within the meaning of the Plan.




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       19.     The Plan document for UBF’s Plan expressly provides that claims for

 reimbursement submitted by out-of-network providers such as HUMC are

 reimbursed “at the Medicare Rate developed by the Centers for Medicare and

 Medicaid Services used to reimburse physicians and other Providers on a fee-by-

 fee basis.”   The Plan document further provides that for non-PPO providers,

 “covered expenses are payable at 100% of the Medicare Rate.”

       20.     The Social Security Amendments of 1983 (Public Law 98-21)

 established the Prospective Payment System (“PPS”) for hospital inpatient services

 provided to Medicare beneficiaries. Under this system, a hospital is paid a fixed

 amount for each patient discharged in a particular treatment category or Diagnosis

 Related Group (“DRG”). This fixed amount is intended to cover the cost of

 treating a typical patient for a particular DRG. The reimbursement amount is

 calculated using the Centers for Medicare and Medicaid Services (“CMS’s”) PPS

 Pricer system.

       21.     In the case of the extensive treatment that HUMC provided to Patient

 1 between May 29, 2014, and May 22, 2015, the total reimbursement amount, as

 calculated by CMS’s PPS Pricer system, is $789,446.88. Thus, the “Medicare

 Rate” for this treatment under the UBF Plan is at least $789,446.88.

       22.     29 CFR Section 2590.715-2719A(b)(3)(i) also provides that in order

 for a plan to satisfy the co-payment and co-insurance limitations, for out-of-


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 network emergency medical services under the ACA, it must provide benefits for

 out-of-network emergency services in the amount equal to the greatest of the

 following three possible amounts: (1) the amount negotiated with in-network

 providers for the emergency service furnished taking into account the in-network

 co-payment and co-insurance obligations; (2) the amount for the emergency

 service calculated using the same method the plan generally uses to determine

 payments for out-of-network services (such as the usual, customary and reasonable

 charges) but substituting the in-network cost-sharing provisions for the out-of-

 network cost-sharing provisions; or (3) the amount that would be paid under

 Medicare for the emergency service, taking into account the in-network co-

 payment and co-insurance obligations.

       23.    Accordingly, the amount payable to HUMC under the Plan is much

 greater than the Medicare Rate of $789,466.88, and upon information and belief,

 much greater based on the in-network amounts negotiated with providers for

 emergency services under the ACA co-insurance and co-payment limitations.

       24.    However, to date, UBF, through Omni (the Plan Administrator), and

 Aetna (the Plan’s third-party claims administrator), has refused to reimburse

 HUMC more than $12,907.18, leaving an unpaid balance due under the terms of

 the Plan of at least $776,539.70.




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       25.    In an explanation of benefits (“EOB”) issued by Aetna dated

 September 5, 2015, Aetna provided no explanation for the low reimbursement rate

 other than the claim was supposedly reimbursed at the “reasonable and customary

 rate.” There is no indication on the EOB of any denied charges, authorization

 issues, or level of care problems.

       26.    Aetna’s contention in its EOB, that the $12,907.18 represents the

 “reasonable and customary rate” to Patient 1, is demonstrably false. Indeed, it

 would be impossible to find another Northern New Jersey acute care hospital that

 charges a mere $12,907.18 for a 358-day hospital stay, particularly one involving

 the extensive and medically-necessary treatment provided to Patient 1.

 C.    HUMC Receives a Complete Assignment of Health Insurance Benefits
       for the Treatment Provided to Patient 1

       27.    The UBF Plan document expressly provides that “[b]enefits for

 medical expenses covered under this Plan may be assigned by a Covered Person to

 the provider.”

       28.    In connection with Patient 1’s treatment at HUMC, and because

 Patient 1 was comatose and unconscious when he presented at HUMC’s

 Emergency Department on or about May 29, 2014, and remained so during his

 hospitalization at HUMC, Patient 1’s wife, also a Covered Person under the Plan,

 executed an “Assignment of Benefits” form on behalf of Patient 1 and assigned to




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  HUMC the right to Patient 1’s benefits under the Plan for the services that HUMC

  provided to Patient 1.

        29.    Patient 1 passed away on May 30, 2015. On June 9, 2016, Patient 1’s

  wife, as the beneficiary of Patient 1’s estate, executed another “Assignment of

  Benefits” form on behalf of Patient 1, which assigned to HUMC the right to Patient

  1’s benefits under the Plan for the services that HUMC provided to Patient 1.

        30.    Among other things, the May 29, 2014 “Assignment of Benefits”

  form executed by Patient 1’s wife, on behalf of Patient 1, state as follows:

        I HEREBY ASSIGN TO THE HOSPITAL, ALL OF MY RIGHTS,
        BENEFITS, PRIVILEGES, PROTECTIONS, CLAIMS, CAUSES
        OF ACTION, INTERESTS OR RECOVERY, TO ANY AND ALL
        RIGHTS, BENEFITS, PRIVILEGES, PROTECTIONS, CLAIMS,
        CAUSES OF ACTIONS, INTERESTS, OR RECOVERY OF ANY
        TYPE WHATSOEVER RECEIVABLE BY ME OR ON MY
        BEHALF ARISING OUT OF ANY POLICY OF INSURANCE,
        PLAN, TRUST, FUND, OR OTHERWISE PROVIDING HEALTH
        CARE COVERAGE OF ANY TYPE TO ME (OR TO ANY OTHER
        THIRD PARTY RESPONSIBLE FOR ME) FOR THE CHARGES
        FOR SERVICE RENDERED TO ME BY THE HOSPITAL. THIS
        INCLUDES, WITHOUT LIMITATION, ANY PRIVATE OR
        GROUP HEALTH/HOSPITALIZATION PLAN. AUTOMOBILE
        LIABILITY, GENERAL LIABILITY, PERSONAL INJURY
        PROTECTION, MEDICAL PAYMENTS, UNINSURED OR
        UNDERINSURED      MOTOR      VEHICLES    BENEFITS,
        SETTLEMENTS/JUDGMENTS/VERDICTS,       SELF-FUNDED
        PLAN, TRUST, WORKERS COMPENSATION, MEWA,
        COLLECTIVE, OR ANY OTHER THIRD-PARTY PAYOR
        PROVIDING HEALTH CARE COVERAGE OF ANY TYPE TO
        ME (OR TO ANY OTHER THIRD PARTY RESPONSIBLE FOR
        ME) FOR THE CHARGES FOR SERVICES RENDERED TO ME
        BY THE HOSPITAL [COLLECTIVELY, ‘COVERAGE SOURCE’].



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       I AUTHORIZE AND DIRECT PAYMENT BE MADE BY ANY
       AND ALL COVERAGE SOURCE DIRECTLY TO THE
       HOSPITAL OF ALL BENEFITS, PAYMENTS, MONIES,
       CHECKS, FUNDS, WIRE TRANSFERS OR RECOVERY OF ANY
       KIND WHATSOEVER FROM ANY COVERAGE SOURCE. I
       ALSO AGREE TO ASSIST THE HOSPITAL IN PURSUING
       PAYMENT FROM ANY COVERAGE SOURCE. THIS
       INCLUDES, WITHOUT LIMITATION, SIGNING DOCUMENTS
       REQUESTED OR NEEDED TO PURSUE CLAIMS AND
       APPEALS, GETTING DOCUMENTS FROM COVERAGE
       SOURCE, OR OTHERWISE TO SUPPORT PAYMENT TO THE
       HOSPITAL. I ALSO DIRECT AND AGREE THAT ANY
       PAYMENTS OF ANY KIND (E.G., CHECKS, FUNDS,
       PAYMENTS, MONIES, BENEFITS OR RECOVERY FOR
       COVERAGE OF SERVICES BY THE HOSPITAL THAT IS SENT
       DIRECTLY TO ME (OR TO ANOTHER THIRD PARTY
       RESPONSIBLE FOR ME) WILL BE SENT AND TURNED OVER
       IMMEDIATELY BY ME TO THE HOSPITAL, THROUGH
       WHATEVER MEANS NECESSARY.         THIS INCLUDES,
       WITHOUT LIMITATION, ME AND IF NEEDED ANY
       GUARDIAN ENDORSING OVER ANY CHECKS AND/OR
       OTHER DOCUMENTS TO THE HOSPITAL.          I ALSO
       UNDERSTAND THAT IF I FAIL TO TURN OVER TO THE
       HOSPITAL ANY SUCH PAYMENTS SENT DIRECTLY TO ME
       (OR TO ANOTHER THIRD PARTY RESPONSIBLE FOR ME), I
       WILL BE FINANCIALLY RESPONSIBLE TO THE HOSPITAL
       FOR THE AMOUNT OF SUCH PAYMENTS, AND I MAY ALSO
       BE SUBJECT TO CRIMINAL PROSECUTION TO THE FULLEST
       EXTENT PERMITTED BY LAW.

       I HEREBY AUTHORIZE AND DESIGNATE THE HOSPITAL, AS
       MY AUTHORIZED AGENT AND REPRESENTATIVE TO ACT
       ON MY BEHALF WITH RESPECT TO ALL MATTERS
       RELATED TO ALL OF MY RIGHTS, BENEFITS, PRIVILEGES,
       PROTECTIONS, CLAIMS, CAUSES OF ACTION, INTERESTS
       OR RECOVERY ARISING OUT OF ANY COVERAGE SOURCE.
       THIS INCLUDES, WITHOUT LIMITATION, THE HOSPITAL
       REQUESTING     VERIFICATION  OF    COVERAGE/PRE-
       CERTIFICATION/AUTHORIZATION, FILING PRE-SERVICE
       AND POST-SERVICE CLAIMS AND APPEALS, RECEIVING

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        ALL INFORMATION, DOCUMENTATION, SUMMARY PLAN
        DESCRIPTIONS,  BARGAINING    AGREEMENTS,    TRUST
        AGREEMENTS, CONTRACTS, AND ANY INSTRUMENTS
        UNDER WHICH THE PLAN IS ESTABLISHED OR OPERATED,
        AS WELL AS RECEIVING ANY POLICIES, PROCEDURES,
        RULES, GUIDELINES, PROTOCOLS OR OTHER CRITERIA
        CONSIDERED    BY   THE   COVERAGE    SOURCE,   IN
        CONNECTION WITH ANY CLAIMS, APPEALS, OR
        NOTIFICATIONS RELATED TO CLAIMS OR APPEALS.

        31.    Among other things, the June 9, 2016 “Assignment of Benefits” form

  executed by Patient 1’s wife, on behalf of Patient 1, states as follows:

        I HEREBY ASSIGN TO THE HOSPITAL, ALL OF MY RIGHTS,
        BENEFITS, PRIVILEGES, PROTECTIONS, CLAIMS, CAUSES
        OF ACTION, INTERESTS OR RECOVERY, TO ANY AND ALL
        RIGHTS, BENEFITS, PRIVILEGES, PROTECTIONS, CLAIMS,
        CAUSES OF ACTIONS, INTERESTS, OR RECOVERY OF ANY
        TYPE WHATSOEVER RECEIVABLE BY ME OR ON MY
        BEHALF ARISING OUT OF ANY POLICY OF INSURANCE,
        PLAN, TRUST, FUND, OR OTHERWISE PROVIDING HEALTH
        CARE COVERAGE OF ANY TYPE TO ME (OR TO ANY OTHER
        THIRD PARTY RESPONSIBLE FOR ME) FOR THE CHARGES
        FOR SERVICE RENDERED TO ME BY THE HOSPITAL. THIS
        INCLUDES, WITHOUT LIMITATION, ANY PRIVATE OR
        GROUP HEALTH/HOSPITALIZATION PLAN. AUTOMOBILE
        LIABILITY, GENERAL LIABILITY, PERSONAL INJURY
        PROTECTION, MEDICAL PAYMENTS, UNINSURED OR
        UNDERINSURED       MOTOR     VEHICLES    BENEFITS,
        SETTLEMENTS/JUDGMENTS/VERDICTS,       SELF-FUNDED
        PLAN, TRUST, WORKERS COMPENSATION, MEWA,
        COLLECTIVE, OR ANY OTHER THIRD-PARTY PAYOR
        PROVIDING HEALTH CARE COVERAGE OF ANY TYPE TO
        ME (OR TO ANY OTHER THIRD PARTY RESPONSIBLE FOR
        ME) FOR THE CHARGES FOR SERVICES RENDERED TO ME
        BY THE HOSPITAL [COLLECTIVELY, ‘COVERAGE SOURCE’].
        THIS IS A DIRECT ASSIGNMENT OF ANY AND ALL OF MY
        RIGHTS TO RECEIVE BENEFITS ARISING OUT OF ANY
        COVERAGE SOURCE.        I UNDERSTAND THAT THIS

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       ASSIGNMENT OF BENEFITS IS IRREVOCABLE.       THIS
       ASSIGNMENT OF BENEFITS FULLY AND COMPLETELY
       ENCOMPASSES ANY LEGAL CLAIM I MAY HAVE AGAINST
       ANY COVERAGE SOURCE, INCLUDING, BUT NOT LIMITED
       TO, MY RIGHTS TO APPEAL ANY DENIAL OF BENEFITS ON
       MY BEHALF, TO REQUEST AND OBTAIN PLAN
       DOCUMENTS, TO PURSUE LEGAL ACTION AGAINST ANY
       COVERAGE SOURCE, AND/OR TO FILE A COMPLAINT WITH
       THE NEW JERSEY DEPARTMENT OF BANKING AND
       INSURANCE.

       I AUTHORIZE AND DIRECT PAYMENT BE MADE BY ANY
       AND ALL COVERAGE SOURCE DIRECTLY TO THE
       HOSPITAL OF ALL BENEFITS, PAYMENTS, MONIES,
       CHECKS, FUNDS, WIRE TRANSFERS OR RECOVERY OF ANY
       KIND WHATSOEVER FROM ANY COVERAGE SOURCE. I
       ALSO AGREE TO ASSIST THE HOSPITAL IN PURSUING
       PAYMENT FROM ANY COVERAGE SOURCE. THIS
       INCLUDES, WITHOUT LIMITATION, SIGNING DOCUMENTS
       REQUESTED OR NEEDED TO PURSUE CLAIMS AND
       APPEALS, GETTING DOCUMENTS FROM COVERAGE
       SOURCE, OR OTHERWISE TO SUPPORT PAYMENT TO THE
       HOSPITAL. I ALSO DIRECT AND AGREE THAT ANY
       PAYMENTS OF ANY KIND (E.G., CHECKS, FUNDS,
       PAYMENTS, MONIES, BENEFITS OR RECOVERY FOR
       COVERAGE OF SERVICES BY THE HOSPITAL THAT IS SENT
       DIRECTLY TO ME (OR TO ANOTHER THIRD PARTY
       RESPONSIBLE FOR ME) WILL BE SENT AND TURNED OVER
       IMMEDIATELY BY ME TO THE HOSPITAL, THROUGH
       WHATEVER MEANS NECESSARY.         THIS INCLUDES,
       WITHOUT LIMITATION, ME AND IF NEEDED ANY
       GUARDIAN ENDORSING OVER ANY CHECKS AND/OR
       OTHER DOCUMENTS TO THE HOSPITAL.          I ALSO
       UNDERSTAND THAT IF I FAIL TO TURN OVER TO THE
       HOSPITAL ANY SUCH PAYMENTS SENT DIRECTLY TO ME
       (OR TO ANOTHER THIRD PARTY RESPONSIBLE FOR ME), I
       WILL BE FINANCIALLY RESPONSIBLE TO THE HOSPITAL
       FOR THE AMOUNT OF SUCH PAYMENTS, AND I MAY ALSO
       BE SUBJECT TO CRIMINAL PROSECUTION TO THE FULLEST
       EXTENT PERMITTED BY LAW.

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        I HEREBY AUTHORIZE AND DESIGNATE THE HOSPITAL, AS
        MY AUTHORIZED AGENT AND REPRESENTATIVE TO ACT
        ON MY BEHALF WITH RESPECT TO ALL MATTERS
        RELATED TO ALL OF MY RIGHTS, BENEFITS, PRIVILEGES,
        PROTECTIONS, CLAIMS, CAUSES OF ACTION, INTERESTS
        OR RECOVERY ARISING OUT OF ANY COVERAGE SOURCE.
        THIS INCLUDES, WITHOUT LIMITATION, THE HOSPITAL
        REQUESTING     VERIFICATION   OF    COVERAGE/PRE-
        CERTIFICATION/AUTHORIZATION, FILING PRE-SERVICE
        AND POST-SERVICE CLAIMS AND APPEALS, RECEIVING
        ALL INFORMATION, DOCUMENTATION, SUMMARY PLAN
        DESCRIPTIONS,   BARGAINING   AGREEMENTS,    TRUST
        AGREEMENTS, CONTRACTS, AND ANY INSTRUMENTS
        UNDER WHICH THE PLAN IS ESTABLISHED OR OPERATED,
        AS WELL AS RECEIVING ANY POLICIES, PROCEDURES,
        RULES, GUIDELINES, PROTOCOLS OR OTHER CRITERIA
        CONSIDERED    BY    THE   COVERAGE    SOURCE,   IN
        CONNECTION WITH ANY CLAIMS, APPEALS, OR
        NOTIFICATIONS RELATED TO CLAIMS OR APPEALS.

        32.    The UBF’s Plan document further authorizes a person covered by a

  Plan beneficiary “to appoint an authorized representative to act on his or her behalf

  with respect to a benefit claim or appeal of a denial.” In the event of such an

  authorization, the Plan document provides that “all future communications from

  the Plan will be with the representative, rather than the Covered Person, unless the

  Covered Person directs the Plan Administrator, in writing, to the contrary.”

        33.    In this case, in addition to the “Assignment of Benefit” form

  referenced above, on or about February 17, 2015, Patient 1’s wife, on behalf of

  Patient 1, signed an Aetna authorization representation form in which she

  expressly authorized HUMC and its affiliates to appeal any adverse benefits

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  determination on Patient 1’s behalf with respect to the services that HUMC

  provided to Patient 1.

        34.    Throughout Patient 1’s 358 consecutive day stay at HUMC, and after

  his death on May 22, 2015, HUMC and Patient 1’s wife, on behalf of Patient 1,

  communicated with Defendants regarding Patient 1’s treatment, coverage and

  payments as Patient 1’s assignee under the Plan.

        35.    In or about February 2015, during discussions with Aetna regarding

  Patient 1’s coverage under the UBF Plan, Aetna informed HUMC’s case manager

  that Aetna learned on February 10, 2015, that Patient 1’s coverage under the UBF

  Plan had terminated. Aetna did not provide a reason why it did not learn of Patient

  1’s coverage termination until February 10, 2015.

        36.    HUMC, on behalf of Patient 1, communicated with UBF who

  provided HUMC with a copy of Omni’s initial Plan termination notice, dated May

  15, 2014. The notice of termination stated that Patient 1’s benefits terminated as of

  April 30, 2014, one month prior to Patient 1’s admission to HUMC on May 29,

  2014 and provided instructions for continued coverage under COBRA.

        37.    HUMC informed UBF and Omni that Patient 1 worked up until the

  day he was admitted to HUMC, and that termination by the Plan prior to this date

  was in error. Patient 1’s wife informed HUMC that neither she nor Patient 1, who




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  was comatose from the time he was admitted to HUMC and throughout his

  hospitalization, received the May 15, 2014 letter.

        38.    Initially, UBF refused to help HUMC resolve this issue and insisted

  numerous times that any appeal regarding the wrongful termination of Patient 1’s

  benefits had to be made in writing and sent directly to Omni.

        39.    Only after HUMC informed UBF that if they persisted in their

  position, that HUMC would have no choice but to contact the New Jersey

  Department of Banking and Insurance and the Department of Labor regarding

  Patient 1’s wrongful coverage determination, did UBF thereafter actively work

  with HUMC and Patient 1’s wife to resolve the matter.

        40.    On February 25, 2015, HUMC faxed Patient 1’s payroll records and

  other proof that Patient 1 remained employed through the date of his admission to

  HUMC on May 29, 2014. In response, UBF agreed to correct the termination date

  to May 31, 2014, and issue a revised notice of termination to Patient 1’s wife.

  Upon being informed by HUMC that it was authorized to receive the notice of

  termination on Patient 1’s behalf, UBF sent HUMC the corrected February 25,

  2015 notice of termination and COBRA letter that day.

        41.    Patient 1’s wife signed the COBRA documents, dated February 25,

  2015, on Patient 1’s behalf, and then HUMC submitted them to UBF.




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        42.    On March 9, 2015, HUMC received e-mail confirmation from Omni

  that Patient 1’s coverage had been retroactively reinstated through May 31, 2014,

  under the Plan, and under COBRA from June 1, 2014, forward.

        43.    Throughout HUMC’s extended course of dealings with Aetna, Omni

  and UBF regarding Patient 1’s coverage, all three Defendants were well aware that

  Patient 1 was comatose and incapacitated when he was admitted to HUMC, and

  that Patient 1’s wife signed the assignment of benefit form on his behalf. At no

  time did anyone at Aetna, Omni or UBF ever advise HUMC that the assignment of

  benefits form that Patient 1’s wife had signed was insufficient or ever refuse to

  communicate with HUMC because Patient 1 did not himself sign an assignment of

  benefits form or because Patient 1’s wife did so instead.

  D.    HUMC Exhausts All Known and Available Internal Appeals Remedies

        44.    HUMC has exhausted all known and available appeals avenues under

  the Plan in an effort to convince Defendants to reimburse HUMC properly on its

  claims for the extensive treatment that HUMC provided to Patient 1. So far, all of

  these appeals avenues have been unsuccessful.

        45.    Specifically, by letter dated September 9, 2015 (“Appeal Letter”), in

  accordance with the terms of the Plan, HUMC appealed the underpayment to

  Aetna, with a copy to Omni and UBF. In its Appeal Letter, HUMC explained,

  among other things, that HUMC’s reimbursement claim was substantially


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  underpaid; that the terms of the Plan required reimbursement in accordance with

  the calculations set forth in CMS’s PPS Pricer System; and that Aetna’s contention

  that the reimbursement amount of $12,907.18 represented the “reasonable and

  customary rate” was demonstrably false.

        46.   In its Appeal Letter, HUMC also requested that the Defendants

  provide a detailed explanation as to the reasons for the unreasonably low payment,

  and it further requested documentation in support of UBF’s claim that the Plan is

  entitled to grandfathered status under the ACA.          HUMC is entitled to this

  information under ERISA and the terms of the Plan, and the information is

  necessary in order for HUMC to determine, inter alia, whether the UBF Plan is

  properly entitled to assert “grandfathered” status under the ACA.

        47.   Importantly, because, upon information and belief, the Plan is not

  entitled to assert grandfathered status under the ACA, it is required by law to

  provide benefits for out-of-network emergency services in an amount equal to the

  greatest of three possible amounts: (1) the amount negotiated with in-network

  providers for the emergency service furnished; (2) the amount for the emergency

  service calculated using the same method the plan generally uses to determine

  payments for out-of-network services, but substituting the in-network cost sharing

  provisions for the out-of-network cost-sharing provisions; or (3) the amount that

  would be paid under Medicare for the emergency service. Here, upon information


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  and belief, the reimbursement methodology set forth in the Plan -- calculated using

  CMS’s PPS Pricer System, and resulting in a reimbursement amount of

  $789,446.88 under the Medicare rate -- would fall far short of the reimbursement

  amount required by the ACA. The reimbursement amount actually provided --

  $12,907.18 for a 358-day inpatient stay -- is tantamount to complete

  noncompliance with the requirements of the ACA as to non-grandfathered plans.

        48.    Neither Aetna, nor any of the other defendants, ever formally

  responded to HUMC’s Appeal Letter. Instead, by e-mail dated October 14, 2015, a

  representative of Omni advised HUMC, without analysis, that it believed that

  HUMC had been “paid in full by the plan.” This Omni representative further

  stated in his e-mail that Omni is not required to provide HUMC with information

  regarding the Plan’s grandfathered status under the ACA. Contrary to the express

  language of the Plan -- which requires that all appeals be sent to Omni -- the Omni

  representative further stated in his e-mail that his company would refuse to field

  any further calls or e-mails from HUMC, and that all inquiries regarding the claim

  for the services provided to Patient 1 should be directed to Aetna.

        49.    On November 11, 2015, HUMC sent its September 9, 2015, Appeal

  Letter directly to Aetna by fax and certified mail. By letter dated December 1,

  2015, HUMC requested that Aetna expedite HUMC’s appeal of this matter. To

  date, Aetna has taken no action on HUMC’s appeal.


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        50.   Meanwhile, on November 12, 2015, HUMC separately submitted to

  UBF a member grievance concerning the underpayment in accordance with the

  provisions of the Plan governing such grievances.

        51.   By letter dated December 3, 2015, counsel for UBF advised HUMC

  that the grievance procedure set forth in the Plan was unavailable to HUMC, and

  that HUMC should pursue its claim as an appeal under the Plan. UBF’s counsel

  even stated that HUMC should address its appeal directly to Omni -- ignoring, of

  course, that HUMC had already addressed its appeal to Omni and been advised by

  Omni’s representative on October 14, 2015, that Omni would not take any further

  calls or e-mails from HUMC. UBF’s counsel further claimed that the $12,907.18

  paid to HUMC constituted “full payment” for Patient 1’s 358-day inpatient stay at

  HUMC.

        52.   Making matters worse, by letter dated October 31, 2015 (received by

  HUMC on November 10, 2015), Aetna demanded that HUMC reimburse it for an

  alleged “overpayment” in the amount of $4,366.44 for treatment that HUMC

  provided to Patient 1. In a separate letter dated November 7, 2015 (received by

  HUMC on November 17, 2015), Aetna made a separate demand that HUMC

  reimburse Aetna for another “overpayment” in the amount of $4,270.37, for

  treatment that HUMC provided to Patient 1. Aetna’s “overpayment” demands




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  would leave the total reimbursement to HUMC in the amount of $4,270.37, for the

  358-day inpatient stay.

         53.    The conduct of all three Defendants in their handling of HUMC’s

  claims on behalf of Patient 1 makes it abundantly clear that Defendants have

  absolutely no intention of complying with their obligations under the Plan, ERISA,

  the ACA, or any other applicable law, and that further exhaustion efforts by

  HUMC would be futile. Thus, HUMC is entitled to have this Court undertake a de

  novo review of the issues raised herein.

         54.    The instant action is timely commenced well within six years after

  HUMC was notified by Defendants that they were rejecting HUMC’s claims for

  reimbursement for the services that HUMC provided to Patient 1, within six years

  after each of Plaintiff’s claims against Defendants accrued, and is otherwise timely

  in all respects.




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                                       COUNT ONE
                     (Violation of Section 502(a)(1)(B) – against UBF)

        55.       HUMC incorporates by reference all of the foregoing allegations as if

  set forth at herein length.

        56.       The Plan is an employee welfare benefits plan within the meaning of

  29 U.S.C. § 1002(2)(A).

        57.       UBF is the insurer, obligor, fiduciary, and/or relevant party-in-interest

  for the Plan.

        58.       Omni and/or Aetna serve as the Plan Administrators of the Plan.

        59.       Under the terms of the Plan, Patient 1 is entitled to coverage for the

  services that Patient 1 received from HUMC.

        60.       Patent 1’s wife, on behalf of Patient 1, executed an “Assignment of

  Benefits” form, among other documents, in which Patient 1 gave HUMC a

  complete assignment of Patient 1’s right to benefits under the Plan.

        61.       A healthcare provider to whom a patient assigns benefits has standing

  to sue as a “beneficiary” as “a person designated by a participant . . . who is or may

  become entitled to a benefit” under an ERISA-governed plan.                29 U.S.C. §

  1002(8).    ERISA further provides that a “beneficiary” is entitled to institute

  litigation to collect benefits owed under a relevant ERISA-governed plan. 29

  U.S.C. § 1132(a)(1)(B).



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        62.    When Patient 1’s wife, on behalf of Patient 1, executed the

  “Assignment of Benefits” form, Patient 1 assigned to HUMC his right to receive

  reimbursement from UBF under the Plan for the services that HUMC rendered to

  Patient 1.   This assignment of benefits confers upon HUMC the status of a

  “beneficiary” under Section 502(a) of ERISA. Thus, HUMC has standing to bring

  this action under ERISA.

        63.    As a beneficiary under Section 502(a) of ERISA, HUMC is entitled to

  recover benefits due to HUMC and/or its patients under the terms of the Plan.

        64.    As a beneficiary under Section 502(a) of ERISA, HUMC is entitled to

  enforce the rights of HUMC and/or its patients under the terms of the Plan.

        65.    As a beneficiary under Section 502(a) of ERISA, HUMC is entitled to

  clarify its rights to future benefits under the terms of the Plan.

        66.    The Plan expressly authorized Patient 1 to assign his rights to benefits

  under the Plan to HUMC, including the right of direct payment of the Plan’s

  benefits to HUMC.

        67.    In violation of ERISA, UBF failed to make payment of benefits to

  HUMC, as assignee of Patient 1’s rights under the Plan, in the manner and

  amounts required under the terms of the Plan.

        68.    As the result of UBF’s violations of ERISA, HUMC has suffered

  damages and lost benefits as assignee, for which it is entitled to restitution from


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  UBF, other declaratory and injunctive relief related to enforcement of the terms of

  the Plan, and to the clarification of future benefits. UBF is liable to HUMC for

  unpaid benefits, restitution, interest, attorneys’ fees, and other penalties as this

  Court deems just under ERISA Section 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B).

                                     COUNT TWO
                   (Breach of Fiduciary Duty – against all Defendants)

        69.       HUMC incorporates by reference all of the foregoing allegations as if

  set forth at herein length.

        70.       As set forth more fully above, the Plan is an employee welfare

  benefits plan within the meaning of 29 U.S.C. § 1002(2)(A).

        71.       UBF is the insurer, obligor, fiduciary, and/or relevant party-in-interest

  for the Plan.

        72.       Omni and/or Aetna serve as the Plan Administrators of the Plan.

        73.       Under the terms of the Plan, Patient 1 is entitled to coverage for the

  services that Patient 1 received from HUMC.

        74.       As set forth more fully above, Patient 1 received health care services

  at HUMC. Patient 1’s wife, on behalf of Patient 1, executed an “Assignment of

  Benefits” form, among other documents, in which Patient 1 assigned to HUMC

  Patient 1’s right to benefits under the Plan.




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        75.    UBF, Aetna, and Omni exercise discretionary authority or

  discretionary control relating to the management and/or administration of the Plan,

  and/or exercise authority and/or control respecting the management and disposition

  of the Plan’s assets. Accordingly, UBF, Aetna, and Omni are all fiduciaries of the

  Plan within the meaning of 29 U.S.C. § 1002(21)(A).

        76.    UBF, Aetna, and Omni acted as fiduciaries to Patient 1, his spouse,

  and HUMC (as assignee), because they all exercised discretion in determining the

  nature of benefits that would be afforded to beneficiaries of the Plan, a key

  fiduciary function under ERISA.

        77.    As fiduciaries of the Plan, UBF, Aetna, and Omni owe the Plan

  beneficiaries -- including HUMC as assignee of benefits – a duty to act for the

  exclusive purpose of providing benefits to participants and their beneficiaries; with

  the care, skill, prudence and diligence that a prudent administrator would use in the

  conduct of an enterprise of like character; and in accordance with the Plan

  documents. 29 U.S.C. § 1104(a)(1)(A), (B), (D).

        78.    UBF, Aetna, and Omni violated their fiduciary duties to the Plan

  beneficiaries – including HUMC as assignee of benefits – by, among other things:

  basing their reimbursement decisions on maximizing profits to Defendants rather

  than on the terms of the Plan and applicable statutes and regulations; failing to




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  make decisions in the interests of beneficiaries; and failing to act in accordance

  with the Plan documents.

        79.      In addition, UBF, Aetna, and Omni violated their fiduciary duties to

  the Plan beneficiaries by, among other things, failing to inform HUMC -- as

  assignee of benefits -- of material information, by misrepresenting requirements for

  reimbursement under the Plan, and imposing unduly burdensome preconditions to

  payment not contemplated by the Plan.

        80.    As the result of UBF’s, Aetna’s, and Omni’s violations of their

  fiduciary duties to its beneficiaries – including HUMC as assignee of benefits –

  HUMC has suffered, and continues to suffer, substantial damages, for which it is

  entitled to appropriate relief under 29 U.S.C. §§1104, 1132(a)(3).

                                COUNT THREE
          (Denial of Full and Fair Review in Violation of ERISA § 503 –
                              against all Defendants)

        81.    HUMC incorporates by reference all of the foregoing allegations as if

  set forth at herein length.

        82.    As an assignee and authorized representative of the claims on behalf

  of Patient 1, HUMC is entitled to receive protection under ERISA, including (a) a

  “full and fair review” of all claims denied by Defendants; and (b) compliance by

  Defendants with applicable claims procedure regulations.




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        83.    Although Defendants are obligated to provide a “full and fair

  review” of denied claims pursuant to ERISA § 503, 29 U.S.C. § 1133 and

  applicable regulations, including 29 C.F.R. § 2560.503-1 and 29 C.F.R. §

  2590.715-2719, Defendants have failed to do so by, among other actions:

  refusing to provide the specific reason or reasons for the substantial underpayment

  on HUMC’s claims on behalf of Patient 1; refusing to provide the specific plan

  provisions relied upon to support its denial; refusing to provide the specific rule,

  guideline, or protocol relied upon in making the decision to deny or underpay

  these claims; refusing to describe any additional material or information necessary

  to perfect a claim; refusing to notify the relevant parties that they are entitled to

  have, free of charge, all documents, records and other information relevant to the

  claims for benefits; refusing to provide a statement describing any appeals

  procedure available, or a description of all required information to be given in

  connection with that procedure and refusing to provide information necessary to

  enable HUMC to ascertain the Plan’s grandfathered status under the ACA. By

  failing to comply with the ERISA claims procedures regulations, Defendants failed

  to provide a reasonable claims procedure.

        84.    Because Defendants have all failed to comply with the substantive

  and procedural requirements of ERISA, any administrative remedies are deemed

  exhausted pursuant to 29 C.F.R. § 2560.503-1(l) and 29 C.F.R. § 2590.715-


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  2719(b)(2)(ii)(F)(1). Exhaustion is also excused because it would be futile to

  pursue administrative remedies, as Defendants do not acknowledge any basis for

  their denials and thus offer no meaningful administrative process for challenging

  their denials.

        85.     HUMC has been harmed by Defendants’ failure to provide a full and

  fair review of appeals submitted under ERISA § 503, 29 U.S.C. § 1133, and by

  Defendants’ failures to disclose information relevant to appeals, to comply with

  applicable claims procedure regulations, and to provide information needed to

  ascertain the Plan’s grandfathered status under the ACA.

        86.     HUMC is entitled to relief under ERISA § 502(a)(3), 29 U.S.C. §

  1132(a)(3), including declaratory and injunctive relief, to remedy Defendants’

  failures to provide a full and fair review, to disclose information relevant to

  appeals and the Plan’s grandfathered status under the ACA, and to comply with

  applicable claims procedure regulations.

                              PRAYER FOR RELIEF

        WHEREFORE, HUMC demands judgment in its favor against Defendants

  as follows:

        A.      Declaring that UBF has breached the terms of the Plan with regard

  to out-of-network benefits and awarding damages for unpaid out-of- network




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  benefits, as well as awarding injunctive and declaratory relief to prevent

  Defendants’ continuing actions detailed herein that are unauthorized by the Plan;

        B.       Declaring that Defendants violated their fiduciary duties under §

  404 of ERISA, 29 U.S.C. § 1104, and awarding injunctive, declaratory and other

  equitable relief to ensure compliance with ERISA;

        C.       Declaring that Defendants failed to provide a “full and fair review”

  under § 503 of ERISA, 29 U.S.C. § 1133, and applicable claims procedure

  regulations, and that “deemed exhaustion” under such regulations is in effect as a

  result of Defendants’ actions, as well as awarding injunctive, declaratory and other

  equitable relief to ensure compliance with ERISA and its claims procedure

  regulations;

        D.       Temporarily    and    permanently      enjoining    Defendants    from

  continuing to pursue their actions detailed herein, and ordering Defendants to pay

  benefits in accordance with the terms of the Plan and applicable law;

        E.       Awarding restitution for reimbursements improperly withheld by

  Defendants;

        F.       Declaring that Defendants have violated the terms of the Plan;

        G.       Requiring Defendants to make full payment on all previously denied

  charges relating to HUMC’s claims for reimbursement under the Plan for the

  services it provided to Patient 1;


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        H.    Requiring Defendants to pay HUMC the benefit amounts as required

  under the Plan;

        I.    Awarding reasonable attorneys’ fees, as provided by § 502(g) of

  ERISA, 29 U.S.C. § 1132(g);

        J.    Awarding costs of suit;

        K.    Awarding pre-judgment and post-judgment interest; and

        L.    Awarding all other relief to which HUMC is entitled.

                                        Respectfully submitted,

                                        K&L GATES LLP

                                        One Newark Center, Tenth Floor
                                        Newark, New Jersey 07102
                                        Tel: (973) 848-4000
                                        Fax: (973) 848-4001
                                        Attorneys for Plaintiff
                                        HUMC Opco LLC, d/b/a CarePoint Health
                                        -- Hoboken University Medical Center

                                        By: /s/ Anthony P. La Rocco________
                                            Anthony P. La Rocco

  Dated: August 1, 2016




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                    CERTIFICATION UNDER L. CIV. R. 11.2

        I certify that the matter in controversy is not the subject matter of any other

  action pending in any court or of any pending arbitration or administrative

  proceeding.

                                        Respectfully submitted,

                                        K&L GATES LLP

                                        One Newark Center, Tenth Floor
                                        Newark, New Jersey 07102
                                        Tel: (973) 848-4000
                                        Fax: (973) 848-4001
                                        Attorneys for Plaintiff
                                        HUMC Opco LLC, d/b/a CarePoint Health
                                        -- Hoboken University Medical Center

                                        By: /s/ Anthony P. La Rocco________
                                            Anthony P. La Rocco

  Dated: August 1, 2016




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                      LOCAL RULE 201.1 CERTIFICATION

        I certify under penalty of perjury that the matter in controversy is not eligible

  for compulsory arbitration because the damages recoverable by plaintiff exceed the

  sum of $150,000, exclusive of interest and costs.

                                         Respectfully submitted,

                                         K&L GATES LLP

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                                         Newark, New Jersey 07102
                                         Tel: (973) 848-4000
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                                         Attorneys for Plaintiff
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                                         By: /s/ Anthony P. La Rocco________
                                             Anthony P. La Rocco

  Dated: August 1, 2016




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                            Exhibit C
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       May 24,2016



       Via Regular Mail and E-Mail

       Mark H. Ginsberg, Esq.
       GORLICK, KRAVITZ & LISTHAUS, P.C.
       11 State Street, 4th Floor
       New York, New York 10004

       Re:       HUMC OPCO, LLC d/b/a/ CarePoint Health- Hoboken University Medical Center
                 v. United Benefit Fund, Aetna Health Inc., and Omni Administrators Inc.
                 Civ. Action No. 2:16•CV-00168(KM)CMAH)

       Dear Mr. Ginsberg:

              Per your discussion with Anthony P. La Rocco and George P. Barbatsuly, please see
       the enclosed Assignment of Benefits reh:ited to the above referenced matter.

       Very truly yours,




       En cis.

       cc:        George P. Barbatsuly, Esq. (e-mail only)




K&L GATES LLP
ONE NEWARK CENTER TENTH FLOOR NEWARK               NJ 07102
T -t1 973 848 4000 F +1 973 848 4001 klgates.com

Anthony P. La Rocco, Administrative Partner                                                                    klgates.com



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                  Case 2:16-cv-00168-KM-MAH                                         Document 54-3                        Filed 08/01/16                     Page 270 of 299
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                    Hobo'ken.Universlty
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                  'aDa ~wAvanus. •· ;.
                    Mebo111in, NJ WDio:... .
 _)...              Telepllone: 201-418-1000
                    www.HobolcenUMC.i:om




                                                                                                                                                 AND TO OUR COLlECTION AGENTS, TO
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                            Exhibit D
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                            CONFIDENTIAL- SUBJECT TO CONFIDENTIALITY ORDER

                                   GORLICK, KRAVITZ & LISTHAUS,                 P.C.

       BUFFALO OFFICE::
     442 POTOMAC AVENUE:
      BUFFALO. NY 14213
        (716) 951·0900
       fAX (716) 991·0910
                                              17



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                                                    ATTORNEYS AT LAW
                                                   STATE STREET, 4TH FLOOR
                                            NEW YORK, NEW YORK 10004-1501



                                                      (212) 269-2500
                                                    FAX 1212) 269·2540
                                                                                                NEW JE:RSE:Y OFFICE::
                                                                                              60 PARK PLACE:, 6TH FLOOR
                                                                                                 NEWARK, NJ 07102
                                                                                                   (97 3) 524-55 II


                                                                                                     Or CoUHEIE\.
LAWRENCE: A. KRAVITZ 0972-2002)                      WWW.GKLLAW.COM                             ANDREW A. GORLICK'
      BRUCE: L. LISTHAUS
    BARBARA S. ME:HLSACK'                                       June 2, 2016
         •NY BAR ONLY
        Via Email and Mail

        Anthony La Rocco, Esq.
        K&L Gates LLP
        One Newark Center, Tenth Floor
        Newark, NJ 07102-5252
        anthony.larocco@klgates.com

                                  Re:   HUMC OPCO LLC v. United Benefit Fund, eta/.;
                                        U.S. District Court, District of New Jersey
                                        ,Givil Action No.: 2: 16-cv-168 (K.M)(MAH)

       Dear Mr. La Rocco:

              As you know, this firm represents United Benefit Fund ("UBF") and Aetna Health Inc.
       ("Aetna") in the above-referenced action.

               In our last phone conversation, the undersigned requested that HUMC produce the
       assignment of benefits which HUMC alleges is the foundation for its standing to bring the instant
       action as a "beneficiary" under ERISA and as the assignee of "Patient 1." In response, on May
           2016 HUMC produced a single undated                 of benefits executed by a 25 year-old
                       whose date of birth is                 (the "Invalid Assignment"). A copy of
       the Invalid Assignment is enclosed.

              Based on the medical condition and the dates of hospitalization alleged in the Amended
       Complaint, and on the administrative record w~ced under separate cover, it is clear
       that "Patient 1" was a 50 year-old man named ....._whose date of birth was -
       - · Further, the Invalid Assignment has an "Account Number" and "Medical Record
       Number" that do not match the medical records of the 50 year-old                        whom
       HUMC seeks compensation.




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GORLICK, KRAVITZ & LISTHAUS,       P.C.
    CONFIDENTIAL
    Anthony La Rocco, Esq.
    June 2, 2016
    Page 2

            Accordingly, we demand that you deliver a valid assignment within ten days. We
    anticipate that your failure to produce a valid assignment will result in your withdrawal of this
    action.




                                                        Sincerely,

                                                        GORLICK, KRAVITZ
                                                        & LISTHAUS, P.C.
                                                       ,---~
                                                        Mark H. Ginsberg




                                                                           CONFIDENTIAL
                      Case 2:16-cv-00168-KM-MAH                      Document 54-3           Filed 08/01/16    Page 274 of 299
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            c:;       QirePoin€Health
                      Hobolten:Unlvexslt:y
                      Me!fical Center
                     ' 308 Wlll~w.Avenue. ·· ;.
                       HObo1uin, NJW03o ~. ·
   )                   Telephone: 201-418-10DD
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Case 2:16-cv-00168-KM-MAH   Document 54-3   Filed 08/01/16   Page 275 of 299
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                            Exhibit E
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                                                       PageID: 855




                                                                     Stacey A. Hyman
                                                                     D 973.848.4028
                                                                     F 973.848.4001
                                                                     stacey.hyman@klgates.com




       June 2, 2016



       Via Regular Mail and E-Mail

       Mark H. Ginsberg, Esq.
       GORLICK, KRAVITZ & LISTHAUS, P.C.
       11 State Street, 4th Floor
       New York, New York 10004

       Re:         HUMC OPCQ, LLC dlblal Care Point Health- Hoboken University Medical Center
                   v. United Benefit Fund, Aetna Health Inc., and Omni Administrators Inc.
                   Civ. Action No. 2:16-CV-00168(KM)(MAH)

       Dear Mr. Ginsberg:

               Please disregard and destroy any copies of the Assignment of Benefits enclosed in our
       letter d~d May 24, 2016. A correct Assignment of Benefits and Authorized Agent Request for
       Victor1L.opez are enclosed herewith.

       ve/xFuly yours,

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                ,. ··--·.S. . ~
                                  ..




  '   ~c'y A Hyman
       En eli

       cc:         Anthony P. La Rocco, Esq. (e-mail only)
                   George P. Barbatsuly, Esq. (e-mail only)




K&L GATES LLP
ONE NEWARK CENTER TENTH FLOOR NEWARK              NJ 07102
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Anthony P. La Rocco, Administrative Partner                                                          klgates.com


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   Care?o"\nt Health       !H
   Hoboken University Medical
                                                                                                                                  DATE: 12/18/14
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                                                                                  YOIJR CONSENT FOR US. OUR AGENTS. Ah'D TO OUR CO!.LECTIO!I AGENTS,
                                                                                       FOR YOU. AND ·TO LEAVE UVE. OR PRE-RECORDED HESSGAGES
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                                                WITH MY INSURANCE PCl!CY PRE··hEFlTIFICAlrlOH REQUIREME!ITS OR IF ANY SERVICE IS NOT CERTIFIED,
                                       INSliRANCE BENEFITS. IN Tll.AT EVENT. HAY 6E RESPONSIBLE FOR ANY AND All CIIARGES OF THE MEDICAL .
                                              FOl\TH Hi PARIIGRA.Pll 7 •




                                                                                10 FOR !6) MONll!S FROM THE DATE BELOW. I UNDERSTAND THAT
                                                                                    011 TillS AUll\01\lZATIOJI. I ALSO UNDERSTAND THAT TfflS CONSENT
                                                                                 THE PHYSICIANS AND TtiElR EMPLOYEES AND AGENTS FOR lliE RElEASE

1N WITNESS WHEREOF,

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  aetna~                      Authorized Representative Request
                                                                                              IFAX Number




 -Member Name

  Provider of Service
                                                                                              !Aetna ID N~mber




 1,-
  Hoboken University Medical Canter
  Name and Dates of Service or Proposed Service
  Dates of Sari/Ice 5/29/14 thru Current for Inpatient Care

                                                                                                                  , do hereby name
    Prlnt the name of the member who Is reoe/v/ng the service or supply
    Maika Roberson and Care Point Health Management Associates
    Print the name of the person who Is ~e!ng authorized to sot on th& member's behalf

 to act as my authorized representative In requesting (check one) 0 a complaint or 0 an appeal from Aetna regarding the
 above-noted service or proposed service.

 IMPORTANT: Your signature below means that you understand and agree io the following:
  • In conjunction with this (checlr one) 0 complaint or [l] appeal, Aetna may disclose Protected Health Information ("PHI")
    to the above-named authorized representative ("Representative'?.
  • The PHI disclosed purl>uant to this authorization may Include diagnosis and treatment information, including
    Information pertaining to chronic diseases, behavioral health conditions, alcohol or substance abuse,
    communicable diseases, sexually-transmitted diseases, HIV/AIOS, and/or genetic marker Information.
 • Information disclosed pursuant to this authorization may be redlsclosed by the Representative and may no longer be
   protected by federal or state privacy regulations.
 • If you would like to pursue (check one) 0 a complaint orO an appeal, at the Representative's request, but do not want·
                                                                                                                                     I
   the Representative to receive any PHI or other information related to the (check one) 0 complaint or 0 appeal,
   including the (oheok one) 0 complaint or D appeal, decision, you may Indicate that choice by checking the box on the
   signature llrte below.
 • Your ability to enroll in an Aetna plan, and your eligibility for beneflls and paymentfor services, will not be affected If you
                                                                                                                                     I
                                                                                                                                     I
   do not sign this form. However, without your signature, we cannot process the (checlc one) 0 complaint or Ill appeal,
   Initiated by the Representative.
·• This authorization is only valid for the duration of the (check one) 0 complaint or Ill appeal. If you sign this form, you
                                                                                                                                     l.
   may revoke the authorization at any time by notifYing Aetna In writing at the address above. Revoking this authorization
   will not have any effect on actions that Aetna took In reliance on the authorization before we received the notification.

IZI Please accept this (check one) 0 complaint or0 appeal, from my representative on my behalf; however, forward a!l
    Information related to this (check one) 0 complaint or[{) appeal, Including the (chao/( one) D complaint or Ill appeal
     decision and any request you may have for additional Information, to my aHentlon only.




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     I,-
     described below:
                        hereby at~thorize the use and/or disclosure of my protected health information as
                                                                                             ·
            Descriptioit of iuformatlon to be used or disclosefl: Any information regarding my or my
            dependent's medical ot· claims history, including medical records, medical rep011s,
            insurance applications, and claims.
            Prl!pose of tlee useldisclosm·e: To obtain payment on a claim for healthcat·e services
            provided by Hobol{en University Medical Center ori and after 5/29/2014.
            Wlto is autltol'ized to use/disclose litis iliformatiom Meika Roberson and CarePoint
            Health Management Associates, Aetna, any healthcare provider that may have treated me
            or my dependent, or any other insut·ance company, plan fiduciary, or third-patty payer that
            may have l'esponsibility for a medical claim of mine or my dependent
            W/10 is authorized to J'eceive tllis iJiformati.on: Meilca Roberson and CarePoint Health
            Management Associates, Aetna, or any other insurance company, plan fiduciat'Y, or third-
            party payer that may have responsibility for a medical claim of mine Ol' my dependent
     If not previously t•evoked, this authorization shall te1minate on the date that Meika Roberson and
     Ca1-ePoint Health Management Associates n:ceives notice that this claim has been paid or the date
     that Meika Roberson and CarePoint Health Management Associates dete1mines that no further
     action against the insurer is warranted.
    In colUlection with this authorization, I understand the following:
            Re-d/$c/osnre: If the organization or person authorized to receive thls information is not
            a healthcare provider or health plan covered by the federal privacy regulations, the
            information described above may be di!lclosed to other institUtions and would no longer be
            protected by the regulations.
            Refusal to sign: I can refuse to sign this authodzation, and my refusal to sign this
            authorization will not affect my eligibility for benefits, or my ability to obtain tJ:eatment or
            payment.
            RlgM of i11spection: I have the light to inspect the infollllation sought to be used or
            disclosed under this authorization, as pe1mitted by the federal privacy regulations.
            Rigllt of n~vocatio1t: l have the right to revoke this authorization at any time by sending
            written notification to Meika Roberson and CarePoint Health Management Associates at
            10 Exchange Place, tGfh Floor, Jersey City, NJ 07302. Such a 1-evocation will not apply to
            prior actions taken in l'eliance on the aUthorization.


                                                                           Date         I      I



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                                    AUTHORIZATION TO PURSUE CLAIM/APPEAL

              With respect to healthcare expenses incurted as a result of the services I received on and after
              S/29/2014 fl;om Hobolcen University Medical Center, l, ~ hereby authorize and
              convey to Meika R.obet·son and CarePoint Health Management Associates to the full extent
              permissible undet' Federal and State law and under any applicable insurance policy and/ol'
              ef!lployee health care benefit plan: (1) the right and ability to act as my A,uthodzed Representative
              in connection with any claim, right, matter, or cause of action that I may have under such insurance
              policy and/or benefit plan; and (2) the right and ability to act as my Authorized Representative to
              pursue such claim, right, matter, or cause of action in connection with said insurance policy and/or
              benefit plan, including the right and ability to act as my Authorized Representative with respect to
              a benefit plan governed by the provisions of the Employee Retirement Income Security Act
              ("ERISA"),                             .
                                           ,.
              I authorize Meika Roberson and CarePoint Health Management Associates to act on my behalf to
              (1) obtain copies of my insurance policy or benefit plan documents from Aetna or other Plan
              Administrator; (2) pursue appeals of adverse benefits decisions, claims for breaches of fiduciary
              duty under ERISA, external appeal review under Federal or State statute, ~dministrative hearings,
              or legal actions to obtain payment :from any payo1•; (3) disclo~e my pl'Otected health information to
              Aetna., its ~ffiliates~ ap.y plan fiduciary, or independent review organization that may be involved
              in the resolution of claims, in connection with :filing m· appealing any claim for benefits due; and
              (4) receive any notices in connection with .m.y benefit claims or appeals concerning same.

              This authorization shall not be construed as an obligation ofMeika Robe1'Son and CarePoint Health
              Management Associates to pursue any such l'ight of recovery. I aclmowledge and ungerstan.d that
              I maintain my right of recovery against my insurer or health benefit pJan. and the foregoing
              authorization does not divest me of such rights.

              I also authorize Aetna, its affiliates, or any other third party that may be involved in the resolution
              of claims relating to the services provided to me on and aftet• 5/29/2014 by Hobolcen Uni-versity
              Medical Center to release MY information regarding plan benefits. claim status, claim approval,
             .claim denial, and appeal status to.Meika Roberson ~nd CarePoint Health Management Associates.

             I understand that l may revoke this authorization at any time by sending written notification to
             Meika Roberson and CarePoint Health Management Associates at 10 Exchange Place, 16th Floor1
             Jersey City, NJ 07302. Such a l'eVocation will not apply to pl'ior actions taken in reliance on the
             authol'ization, rf not previously revoked, this authot'ization will terminate on the date that
             CarePoint Health System receives notice that thls claim has been paid or the date that CarePoint
             Health System derermines that no fllrther action against the insurer is wmTanted.



                                                                                    Date      I        I



                                  ;AlJTIIOlUZATION TO RELEASE INFORMATION
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                            Exhibit F
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                                                     PageID: 863


                               CONFIDENTIAL- SUBJECT TO CONFIDENTIALITY ORDER

                                       GoRLICK, KRAVITZ & LISTHAUs,               P.C.


                                                            ...
                                                      ATTORNEYS AT LAW
                                                  17 STATE STREET, 4TH I"LOOR
        BUFFALO OFFICI'::                       NEW YORK, NE:W YORK 10004·1501                       NJ:W .JERl:ii:Y Of'FICE::
     44Z POTOMAC AVENUE                                                                            eo PARK PLACE:, ""' FLOOR
       BUFFALO, NY 1421.3                                                                             NEWARK. NJ 07 lOR .
         (71GJ IP&I..OBOD                               (212) 269·2500                                  (973) 824-6811
       FAX (71<;) 8SI.OBIO                                                                                    :......::.......
              ,_··· ..                                FAX (212) 269·2540

LAWRE:NCE: A. KRAVITZ (19_7Z•l!002l                    WWW.GKLLAW.COM                                ANDREW A. GORLICK'
       BRUCE: L, USTHAUS
     BARBARA S. h4EHLSACK'
                                                                   June 3, 2016
           'N'I' BAA ONLY


         Via Email .and Mail. .

         Anthony La Rocco. Esq.
         Stacey A. Hyman, Esq.
         K&L Gates LLP
         One Newark Center, Tenth Floor
         Newark, NJ 07102-5252.
         anthony.larocco@klgates.com
         stacey .hyman@klgates.com

                                      Re;   HUMC OPCO LLC v. United Benefit Fund, et al.,~
                                            U.S. District Court, District ofNew Jersey
                                            Civil Action No.:. 2: 16-cv~t~~L(ID4lf:MM'l)

         Dear Counselors:

                     Reference is made to your letter of June 2, 2016 in which you provide an
         ~nd various other assignments of rights executed "for"
        - w h o purports to be his wife. Noticeably absent, h"""'"''..,.
        proxy, power of attorney or other relevant document ~ant
        authority to execute such assignments of rights "for" - - In
        that-she is even his wife. 1

                 In response to this finn's demand for the production of the assignment of rights that is the
         basis of HUMC's Amended Complaint, on May 25, 2016 HUMC produced an assignment of
         rights purportedly execu~ho is th-e subject of this action, but in actuality
         executed by a different ~r dated June 2, 2016, this firm objected to                                     the
         invalid assignment and reiterated its demand that HUMC produce a valid assignment of rights.
         By letter dated. June 2, 2016, HUMC "retracted., the invalid assignment and requested that it be
         destroyed. No valid assignment has been forthcoming.

                 Thus it appears.on the basis of the documents HUMC has produced that HUMC has no
         valid assignment of rights f r o m - For this reason, and in accordance with Rule _11

         1 UBF terminated co~erage ~f
                                                                 2012 for her failure to provide an auditor with
         ~lleged marriage to                                  However, even i f - w e r e married to
         . . . _ , N e w Jersey law                     autnoz'lze_ her to execute assignments of rights on his
         behalf.




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GORLICK, KRAVITZ & LISTHAUS,              P.C.
    CONFIDENTIAL
    Anthony La Rocco, Esq.
    Stacey A. Hynian, Esq.
    June 3, 2016
    Page2

    of the Federal Rules. of Civil Procedure (the "Rules.,), UBF and Aetna hereby demand that
    HUMC immediately dismiss its Amended Complaint as it is clearly frivolous.

         B:OMc~-s. ·:ilJ~gatl"Qn.~· ~t :$;ti,itiq~g; are .~f.ii!fWY J~tedf(!ated on ih~ assertion that -
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    4~~~i:jt;eX[St$~.HUMClis;:;W,itb;Q~t~~9ing·~ bring the instant action.

            Rule 11 provides that, by virtue of presenting the court with a pleading, an attorney
    certifies to the best of his or her knowledge:

                     (2) the claims, defenses, and other legal contentions are warranted
                     by existing law or by a nonfrivolous argument for extending,
                     modifying, or reversing existing law or for establishing new law;

                     (3) the factual contentions have evidentiary support or, if
                     specifically so identified, will likely have evidentiary support after
                     a reasonable opportunity for further investigation or discovery.

    F.R.C.P. ll(b)(2) and (3). The Rule further provides that "[i]f, after notice and a reasonable
    opportunity to resp_ond, the court determines that Rule ll(b) has been violated, the court may
    :!mti~Q'~~ an appropr(~t~t·Smietion on any :a.tf.~mey, law :fii:m, or party that violated the rule or is



     f-
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    non~existent assignment ofrights. (Affiended~G'?¢.~l~~J ~pfSf. As such,. the con.tl~P!ID~rqttl.lis:
    lifiy,~w~¥14~be frivolous and in violatiomotR:ule CONFIDENTIAL
                                                         U:. Ab§.e.nt the voluntarycg~$~1rl ~tth¢:·
    ,Ad\~~tf~:··~rnplaint by HUMC, UBF and Aetna intend to seek the imposition. of                   in        sanctions
    accordance with the Rules.

            In sum, HUMC's Amended Complaint is frivolous. Be guided accordingly.


                                                                     Sincerely~


                                                                     GORLICK, KRAVITZ
                                                                     & LISTHAUS, P.C.


                                                                     Mark H. Ginsberg
    cc: Russell L. Hirschhorn, Esq;




                                                                                                    CONFIDENTIAL
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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
 -------·-··Ilk--..           ··--~--,



  HUMC OPCO LLC, d/b/a CAREPOJNT
  HEALTH" HOBOKENUNIVERSlTY.
  MEDICAL GENTER~

         Plaintiff,

  v.                                                 Civil Action No.
                                                     2: 16~cv-OO 168 (KM/MAH)
  UNITED BENEFIT FUND, AETNA
  HEALTH INC.~ and OMNI
  AD1VIINISTRATORS INC.,

         Defendants.
  -·-·--·-~·~·~-------




                       DECLARATION


        1 , - - pursuant to 28 ·U.S.C. § 1746, hereby declare the

  foliowing!

        .1.     I run the wife of the now deceased               or "Patient 1/' a~

   described by PlaintiffHUMC OPCO LLCJ d/b/a CarePoint Health- Hoboken

   University Medicitl Center ''('.HUMC'') in their Amended C?mplaint. I have first-

   hand knowledge ofthe facts set forth in this Declaration.

         2.    ~d I were married on September 28, 1985. A true and
                                .
   correct copy of our mardage fic.ense is attached hereto as Exhibit 1.




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        3.      - a n d I have four children fl'om our marriage.

        4.                 and r ha.ve no children from outside om· marriage.

        5.      011 May 29, 2014~-suffered a stroke and was taken to the

  e1nergency room at HU!v'IC, where ho was treated and remained for 358

  consecutive days.

        6.      Upon arrival, for the durat~on of his treatment, and up until his release

  fr~m HUMC,~as unconscious and remained in a coma.

        7.      On May 29, 2014, I signed a "General Admission Consent" for

  consent for               medical treatment. A true and correct copy of the signed

  General Admission Consent is attached hereto as Exhibit 2.

        8.      On May 29~ 2014, I also signed an ''Assigument ofBenefits" to

  HUMC on behalf o f - A true and cor.rect copy of the signed May 29~

  2014 Assignment ofBenefits is attached hereto as Exhibit 3.

        9.      Tlu·oughout                Slay at HUMC, r made all

  medical and insurance decisjons.

        10.

  Benefit Fund ("UBF'~). Aetna Health Inc. ("Aetna") and Omni Administrators, Inc.

  c·omni'') on b~halfof-and at no time did anyone from UBF, Aetna or

  Onmi evc:r inform her that she was not authorized to tnake decisions on •

  .-behalf.




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            I 1. - w a s discharged from the hospital on or about May 22,

  2015 ..

        12 .. -pa.l:)sed away on May 30,2015.

        13.       On June 9, 2016, I signed another uAssig,nment of Benefits" on behalf

  o f - A true and correct copy of the signed June 9, 2016 Assignment of

  Benefits is attached hereto as Exhibit 4.

            14.   The June 9 Assignment of Benefits assigned                      ts,

  be:n.efits, privileges, protections~ claims, causes of action, interests or recovery of

  any type whatsoever receivable by~r on his behalf arising out of any

  policy of insurance, plan, trust, fund or otherwise providing health care coverege of

  any type t o - (or to any other third party responsible f o r - for

  the charges for services rende.red t o - b y HUMC. This inCludes without

  limitation, any private group health/hospitalization plan medical payments.

            15.   The June 9 Assignment of Bendits is a direct assignment of any and

  all                   rights to receive benefits~ arising out ufany coverage source.



  Dated: June~, 2016



                                                   By:




                                                                             CONFIDENTIAL
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                            Exhibit 2
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                                            ......   ,.   ___________________

  Name·-
  DOB/SEX:
  HOSP
  . ----
         : HOBOKEN UMC
  ATTENDING:
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                            .Exhibit 3
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                            Exhibit G
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         June 24, 2016                                                      Anthony P. La Rocco
                                                                            anthony .larocco@klgates.com

                                                                            T 973 848 4014
         VIA EMAIL AND REGULAR MAIL                                         F 973 848 4001



         Mark H. Ginsberg, Esq.
         Gorlick, Kravitz & Listhaus, P.C.
         17 State Street, 41h Floor
         New York, NY 10004-1501

         Re: HUMC Opco LLC v. United Benefit Fund, eta/.
             Docket No. 2:16-cv-168 (KM) (MAH)

         Dear Mr. Ginsberg:

         On behalf of Plaintiff HUMC OPCO, LLC d/b/a CarePoint Health - Hoboken University Medical
         Center ("HUMC"), we write in response to your letter dated June 3, 2016. You write that your
         clients, United Benefit Fund ("UBF") and Aetna Health Inc. ("Aetna") (collectively, "Defendants"),
         will move for sanctions under Rule 11 of the Federal Rules of Civil Procedure unless HUMC
         agrees to immediately dismiss its Amended Complaint. You claim that HUMC has produced no
         valid assignment of benefits ("AOB") and rights by                   o HUMC and, as a result,
         HUMC purportedly has no standing to sue under the Amended Complaint. As shown below,
         your contention has no basis in law or fact, and your threatened motions to dismiss for lack of
         subject matter jurisdiction and for Rule 11 sanctions would themselves be frivolous.

         During our telephone meet and confer call on May 16, 2016, we agreed to produce to
         Defendants the AOB conferring standing upon HUMC to bring this ERISA action against
         Defendants. On May 24, 2016, we produced what our client understood to be the AOB at issue.
         When you pointed out in~r of June 2, 2016, that the AOB related to a different patient
         with the same name as~ we promptly supplied the correct AOB later that same day.
         The AOB was actually signed by                 rather than          who was incapacitated
                                                  1
       1
         throughout his  hospitalization at HUMC.   You  contend  that        was not authorized to
         sign the AOB and, as a result, HUMC purportedly lacks standing to bring this claim. This
         argument fails for several reasons.

         At the outset, when -presented at the HUMC Emergency Department, he had suffered
         a stroke and was unconscious and comatose. He remained in this state throughout his stay at
         HUMC. Due to               incapacitation,       , a s - spouse, was authorized
         to make all of           medical decisions.-signed the AOB on May 29, 2014, the



         1
          As you are aware, we plan to move for leave to file a Second Amended Complaint to correct that error,
         as Judge Hammer authorized us to do during the June 14, 2016, telephone status conference call.

K&L GATES LLP
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Anthony P. La Rocco, Administrative Partner, New Jersey                                                    klgates.com

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 date - w a s admitted to HUMC's Emergency· Department. See Declaration of • • •
 •lliic    Dec!."), Ex. 3.

 You baldly ~ssert that--only "purports to be"~ife and that you "have no
 proof that she is even his wife." This specious assertion is belied by the extensive record
 evidence demonstrating that your clients dealt directly with -hroughout • • • •
 hospitalization, fully aware that she was            wife an~ng all of his health care
 deci~ event, on June 21, 2016, we provided you with a true and correct copy o f .
 and ~Certificate of Marriage, which should put to rest your disingenuous suggestion
 that they were not married. See also -Decl., Ex. 1.

 Further, Section 15 of the Summary Plan Description for UBF (the "Plan") states that:

        Benefits for medical expenses covered under this Plan may be assigned by a
        Covered Person to the provider, however, if those benefits are paid directly to the
        Participant, the Plan shall be deemed to have fulfilled its obligations with respect
        to such benefits. The Plan will not be responsible for determining whether any
        such assignment is valid. Payment of benefits which have been assigned will be
        made directly to the assignee unless a written request not to honor the
        assignment, signed by the Participant and the assignee, has been received
        before the proof of loss is submitted.

 (emphasis added). "Covered Person" is defined under the Plan as "any Participant and his or
 her eligible Dependents when properly enrolled in the Plan as a new hire, enrolled during the
 open enrollment period or allowed to enroll because of a qualifying event such a birth, marriage
 or adoption ... " and "Dependent" is defined as "[y)our             when~the United
 States .... " Thus, by the plain language of the PI                   as - - w i f e , was
 authorized to assign the benefits under the Plan as                    pendent; and a Covered
 Person. 2

 And even assuming that                 was not a Covered Person under the Plan, she properly
 executed the AOB on                    ehalf. You state that because HUM~roduce a
 health care proxy, power           ey, or other instrument that would grant - - t h e legal
 authority to execute an assignment of rights f o r . - , she was not authorized to execute
 an assignment of rights under New Jersey law.~r. Section 17 of the Summary Plan
 Description for UBF expressly states that "[e]xcept to the extent superseded by the laws of the
 United States, the Plan and all rights and duties thereunder shall be governed, construed, and
 administered in accordance with the laws of the State of New York." Here, federal common law
 controls. See Merrick v. UnitedHealth Group, Inc., 2016 WL 1229616 (S.D.N.Y. Mar. 25, 2016)
 (validity of an assignment of benefits related to an ERISA~rolled by federal common
 law). Under federal common law, the AOB signed by - - i s a valid assignment of
 benefits based on -incapacity. See Cromwell v. Equicor- Equitable HCA Corp., 944
 F.2d 1272 (6 1h Cir. 1991) (patient's husband signed an. "Assignment of Insurance Benefits"

 2
  You state in your letter that UBE!!Id its coverage of~hen she allegedly failed to
 supply proof of her marriage to                    However, you ~ovided any support for this
 assertion, and the documents exchange to date contain no indication ~er terminated her
 coverage. If you intend to stand on the assertion that UBF terminated -coverage, please
 produce all documents referring or relating to this assertion.


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                                                                                         June 24, 2016



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 clause authorizing payment directly to the health care provider of any and all sums of money
 otherwise payable to me under the terms of the home health provisions of said group policy or
 contract w~signment and assignee could sue under ERISA). New York law likewise
 authorized-to sign the AOB during-ncapacity. SeeN. Y. Pub. Health Law
 § 2994-d.

~en assuming, arguendo, that-lacked the authority to sign the AOB while
- - w a s alive, once he died on May 30, 2 0 1 5 , - - acquired the status of his
 successor in interest by operation of federal common ~w Jersey's intestacy laws.
 See, e.g., N.J.S.A. 38:5-3. As-successor in interest,--was authorized to
 sign an AOB conferring standing upon HUMC to bring this acti~e. g., Pro Cariaco
 Pronto Socorro Cardiologica S.A. v. Trussell, 863 F. Supp. 135, 138 (S.D.N.Y. 1994) (an
 assignment of benefits signed by the decedent's son and sole heir was valid because, upon her
 death, he became entitled to the proceeds from his mother's estate and stepped into her shoes
 regarding his entitlement to the insurance proceeds at that time); Keever v. NCR Pension Plan,
 Case No. 3: 15-cv-196, 2015 U.S. Dist. LEX IS 169019 (S.D. Oh. Dec. 15, 2015) (noting that
 patient's surviving heirs "could be deemed to have derivative standing to sue," and "even if
 Plaintiffs lacked statutory standing to pursue claim for benefits under § 1132(a)(1 )(B), this would
 not necessarily deprive the federal court of subject matter jurisdiction."); and Scott v. Regions
 Bank, 702 F. Supp. 2d 921, 929-930 (E.D.Tenn. 2010) (holding that granting derivative standing
 to successor-in-interest to the ·plan participant or beneficiary promotes ERISA's goal of
~e interests of participants and their beneficiaries). Out of an abundance of caution,
-.-re-executed another AOB in favor of HUMC on June 9, 2016, which would
 independently confer standin~ HUMC even if the prior AOB she signed were somehow
 invalid (which it is not). 3 See-Decl., Ex. 4.

 In light of the foregoing, HUMC unquestionably has standing to bring this ERISA claim against
 Defendants. Accordingly, Defendants' threatened motions to dismiss for lack of subject matter
 jurisdiction, and for Rule 11 sanctions, would themselves be frivolous. Please be guided
 accordingly.




 Anthony P. La Rocco

 cc:    Russell Hirschhorn, Esq. (via e-mail only)·
        Alychia Buchan, Esq. (via e-mail only)
        Joseph Clark, Esq. (via e-mail only)
        George Barbatsuly, Esq. (via e-mail only)
        Stacey Hyman, Esq. (via e-mail only)

 3
   In Drzala v. Horizon Blue Cross Blue Shield, Civ. Action No. 15-8392, slip op. at n. 7 (D.N.J. May 16,
 2016), the Court noted that contract rights and duties are generally assignable and delegable and that an
 assignment of benefits made even after the claims review process began was valid where, as here, the
 insurer had not been prejudiced by the post-claims review assignment, and the assignee was actively
 involved in the claims review process from the outset.

                                                     3
                                                                                               June 24, 2016




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